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                           IN THE UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

     IN RE:                                                    §
                                                               §      Bankruptcy No. 25-30155
     ALLIANCE FARM AND RANCH, LLC, and                         §      Chapter 11
     ALLIANCE ENERGY PARTNERS, LLC,                            §      (Jointly Administered)
                                                               §
                                    Debtors.                   §
                                                               §
                                                               §
     DUSTIN ETTERS,                                            §
                                                               §
                                    Plaintiff.                 §       Adversary No. 25-03382
     v.                                                        §
                                                               §
     JEROD P. FURR, ET AL,                                     §
                                                               §
                                    Defendants,                §

ORDER (I) CONTINUING RULE 16 CONFERENCE, (II) ABATING ALL DEADLINES
         REGARDING SAME AND (III) GRANTING RELATED RELIEF

           Upon the motion (the “Motion”) 1 of the Trustee for entry of an order (this “Order”) (a)

continuing the Rule 16 conference; and (b) abating all deadlines regarding same, all as more fully

set forth in the Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §

1334; and this Court having found that this is a core proceeding within the meaning of 28 U.S.C.

§ 157(b); and that this Court may enter a final order consistent with Article II of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estate, its creditors, and other

parties in interest; and this Court having found that the Trustee’s notice of the Motion and

opportunity for a hearing on the Motion were appropriate and no other notice need be provided;




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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court, if any; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is hereby ORDERED that:

       1.      The Rule 16 Conference Order is amended as stated herein.

       2.      The Rule 16 Conference shall be continued to [ ________________].

       3.      All deadlines related to the Adversary including discovery deadlines shall be abated

until the Court orders otherwise.

       4.      Notwithstanding any Bankruptcy Rule to the contrary, this Order shall take effect

immediately upon its entry.

       5.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Dated: _________________, 2025
Houston, Texas
                                               _____________________________________
                                               ALFREDO R. PEREZ
                                               UNITED STATES BANKRUPTCY JUDGE
